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 4                        UNITED STATES DISTRICT COURT
 5                                 DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,           )          2:09-CR-00466-PMP-LRL
 8                                       )
            Plaintiff,                   )
 9   vs.                                 )               ORDER
                                         )
10   RICARDO SANTACRUZ-BECERILL, et al., )
                                         )
11          Defendant.                   )
                                                )
12                                              )
13            The Court has conducted a de novo review of the proceedings resulting in
14   the entry of the Report and Recommendation to Deny Motions to Suppress Evidence
15   filed respectively on behalf of Defendants Luis Sagrero-Alba (Doc. #72) and
16   Defendant Manuel Gudino-Sierra (Doc. #75) as well as the Motion for Joinder (Doc.
17   #79) filed by Defendant Hector Gonzalez-Alba. No timely objections have been
18   filed to the Report and Recommendation of the Magistrate Judge (Doc. #95), and the
19   Court finds that the Report and Recommendation should be affirmed.
20            IT IS THEREFORE ORDERED that the Report and Recommendation
21   of the Magistrate Judge (Doc. #95) entered April 4, 2011 is hereby AFFIRMED and
22   that the Motions to Suppress filed on behalf of Defendants Luis Sagrero-Aba (Doc.
23   #72), Manuel Gudino-Sierra (Doc. #75) and the Motion for Joinder (Doc. #79) filed
24   on behalf of Defendant Hector Gonzalez-Alba are hereby DENIED.
25   DATED: April 25, 2011.
26

                                             PHILIP M. PRO
                                             United States District Judge
